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EXHIBIT “24”

EXHIBIT “24”

 

 

_@_RICHARD HARRIS

LAW FIRM

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RESP

RICHARD A. HARRIS, ESQ.
Nevada Bar No. 505

MICHAELA E. TRAMEL ESQ.
Nevada Bar No. 9466

RICHARD HARRIS LAW FIRM
801 South Fourth Street

Las Vegas, Nevada 89101
Telephone: (702) 444-4444
Facsimile: (702) 444-4455

Email: nuchaela@richardharrislaw.com

- Attorneys for Plainti]j”
UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA
MONICA HINOSTROZA, Case No.: 2:17-cv-02561-RFB-NJK
Plaintiff,

VS.

DENNY’S, INC., d/b/a DENNY’S
RESTAURANT, a Foreign corporation, DOES
1 through 20; ROE BUSINESS ENTITIES 1
through 20, inclusive jointly and severally,

Defendants,

 

 

PLAINTIFF’S RESPONSES TO DEFEN])ANT DENNY’S INC.’S AMENDED
SECOND SET OF RE§ QUEST FOR PRODUCTION TO PLAINTIFF MONICA

HIN_OSM

 

Pursuant to Rules 34 of the Federal Rules of Civil Procedure, Plaintiff MONICA
HH\IOSTROZA (“Plaintift”), by and through her Attorney of record, MICHAELA E.
TRAMEL, ESQ. of the RICHARD HARRIS LAW FIRM, hereby responds to Defendant
Denny’s, lnc.’s Amended Seeond Set of Requests for Production to Plaintiff as follows:

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DEFINITIONS

A. "Nondiscoverable/Irrelevant." The request in question concerns a matter that is
not relevant to the subject matter and the matters that remain at issue in this litigation and is not
reasonably calculated to lead to the discovery of admissible evidence.

B. "Unduly burdensome." The request in question seeks discovery which is unduly
burdensome or expensive, taking into account the needs'of the case, the amount in controversy,
limitations on the parties' resources, and the importance of the issues at stake in the litigation.

C. "Vague." The request in question contains a word or phrase which is not
adequately defined, or the overall request is confusing, and Plaintiff is unable to reasonably
ascertain What information or documents Defendant seeks in the request.

D. "Overly broad." The request seeks information beyond the scope of, or beyond
the time period relevant to, the subject matter of this litigation and, accordingly, seeks
information which is non-discoverable/irrelevant and is unduly burdensome.

GENERAL OBJECTIONS

l. Plaintiff objects to Defendant's requests to the extent that they seek documents
that are protected by any absolute or qualified privilege or exemption, including, but not limited
to, the attorney-client privilege, the attorney work-product exemption, and the consulting-expert
exemption. Specifically, Plaintiff objects to Defendant‘S requests on the following grounds.

a. Plaintiff objects to Defendant's requests to the extent they seek
documents that are protected from disclosure by the attorney-client privilege in accordance with
Rule 26 of the Federal Rules of Civil Procedure and NRS 89.095.

b. Plaintiff objects to Defendant's requests to the extent they seek
documents that are protected from disclosure by the work-product exemption in accordance
with Rule 26(b)(1)(3) and (4) of the Federal Rules of Civil Procedure and applicable case law.

c. Plaintiff objects to Defendant's requests to the extent they seek
documents that are protected from disclosure pursuant to the consultant/expert exemption in
accordance with Rule 26(b)(3) and (4) of the F ederal Rules of Civil Procedure and applicable

case law.

 

 

 

 

 

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d. Plaintiff objects to Defendant's requests to the extent they seek trade
secrets, commercially sensitive information, or confidential proprietary data entitled to
protection under Rule 26(c)(7) of the Federal Rules of Civil Procedure.

2. This is made on the basis of information and writings available to and located by
Plaintiff upon reasonable investigation of its records. There may be other and further
information respecting the requests propounded by Defendant of Which Plaintiff, despite its
reasonable investigation and inquiry, is presently unaware. Plaintiff reserves the right to modify
or enlarge any With such pertinent additional information as it may subsequently discover.

3. No incidental or implied admissions Will be made by the responses to
Defendant's requests. The fact that Plaintiff may respond or object to any request or any part
thereof shall not be deemed an admission that Plaintiff accepts or admits the existence of any
fact set forth or assumed by such request, or that such constitutes admissible evidence. The fact
that Plaintiff responds to a part of any request is not to be deemed a waiver by Plaintiff of its
obj ections, including privilege, to other parts to such request

4. Plaintiff objects to any instruction to the extent that it would impose upon it.
greater duties than are set forth under the F ederal Rules of Civil Procedure. Plaintiff will
supplement its responses to the requests as required by the Federal Rules of Civil Procedure.

5. All responses will be made solely for the purpose of this action.' Each will be
subject to all objections as to competence, relevance, materiality, propriety and admissibility,
and to any and all other objections on any ground which would require the exclusion from
evidence of any statement herein if any such statements Were made by a witness present and
testifying at trial, all of which objections and grounds are expressly reserved and may be
interposed at such hearings
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RESPONSES TO AlV[ENDED SECOND SET OF RE§ !UEST FOR PRODUCTION
RE§ !UEST NO. 23 §ERRONEOUSLY LABELED AS RE§ QUEST NO. 1 BY
DEFENDANTS):

Please produce copies of any text messages, emails, or other written communications
between either you or your counsel and Ze Pereira from the date of the Subj ect Accident
through the present

RESPONSE TO REOUEST NO. 23 (ERRONEOUSLY LABELED AS REOUEST NO. 1
BY DEFENDANTS):

Objection. This request seeks information concerning the existence or content of

statements made by potential witnesses or parties subsequent to the occurrence upon which this

- suit is based and in connection with the investigation of this suit, or in anticipation of the

prosecution of the claims made a part of the pending litigation. Further, this request is vague
and ambiguous as to the phrase “other written communications.” Without Waiving said
objections, Plaintiff answers as follows: Plaintiff has no documents in her possession, custody,
or control responsive to this request. Plaintiff reserves the right to supplement this response as
discovery is ongoing.

RE§ !UEST NO. 24 gE.RRONEOUSLY LABELED AS RE§ !UEST NO. 2 BY
DEFENDA`NTS):

Please produce copies of any text messages, emails, or other written communications
between either you or your counsel and Katia Moreno from the date of the Subject Accident

through the present.

RESPONSE TO REQUEST NO. 24 jERRONEOUSLY LABELED AS REQUEST NO. 2
BY DEFENDANTS):

Objection. This request seeks information concerning the existence or content of
statements made by potential witnesses or parties subsequent to the occurrence upon Which this
suit is based and in connection With the investigation of this suit, or in anticipation of the
prosecution of the claims made a part of the pending litigation. Further, this request is vague

and ambiguous as to the phrase “other written communications.” Without waiving said

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objections, Plaintiff answers as follows: Plaintiff has no documents in her possession, custody,
or control responsive to this request. Plaintiff reserves the right to supplement this response as
discovery is ongoing.

REOUEST NO. 25 (ERRONEOUSLY LABELED AS REQUEST NO. 3 BY
DEFENDANTS):

Please produce copies of any text messages, emails, or other written communications
between either you or your counsel and Starlin Burgos from the date of the Subject Accident
through the present. _

RESPONSE TO REOUEST NO. 25 (ERRONEOUSLY LABELED AS REOUE_§I NO. 3
BY DEFENDANTS ):

Obj ection. This request seeks information concerning the existence or content of
statements made by potential witnesses or parties subsequent to the occurrence upon which this
suit is based and in connection with the investigation of this suit, or in anticipation of the
prosecution of the claims made a part of the pending litigation Further, this request is vague
and ambiguous as to the-phrase “other written communications.” Without Waiving said
obj ections, Plaintiff answers as follows: Plaintiff has no documents in her possession, custody, 0
or control responsive to this request Plaintiff reserves the right to supplement this response as
discovery is ongoing
REQUEST NO. 26 gERRONEOUSLY LABELED AS RE§ !UEST NO. 4 BY
DEFEN])ANTS):

Please produce copies of any text messages, emails, or other written communications
between either you or your counsel and Karla (347) 774-5132 from the date of the Subject
Accident through the present
RESPONSE TO RE§ !UEST NO. 26 (ERRONEOUSLY LABELED AS REOUEST NO. 1
BY DEFENDANTsz

Objection. This request seeks information concerning the existence or content of
statements made by potential witnesses or parties subsequent to the occurrence upon Which this

suit is based and in connection with the investigation of this suit, or in anticipation of the

 

 

 

 

 

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prosecution of the claims made a part of the pending litigation Further, this request is vague
and ambiguous as to the phrase “other written communications.” Without waiving said
objections, Plaintiff answers as follows: Plaintiff has no documents in her possession, custody,
or control responsive to this request. Plaintiff reserves the right to supplement this response as
discovery is ongoing.

REOUEST NO. 27 (ERRONEOUSLY LABELED AS REOUEST NO. 5 BY
DEFENDANTS}:

Please produce copies of any text messages, emails, or other written communications
between neither you or your counsel and Yovanni Suasanbar from the date~ of the Subject
Accident through the present
RESPONSE TO RE§ ZUEST NO. 27 (ERRONEOUSLY LABELED AS REOUEST NO. 5
BY I)EFENDANTS): ` `

Objection. This request seeks information concerning the existence or content of
statements made by potential witnesses or parties Subsequent to the occurrence upon which this
suit is based and in connection with the investigation of this suit, or in anticipation of the
prosecution of the claims made a part of the pending litigation. Further, this request is vague
and ambiguous as to the phrase “other written communications.” Without waiving said
objections, Plaintiff answers as follows: Plaintiff has no documents in her possession, custody,
or control responsive to this request. Plaintiff reserves the right to supplement this response as
discovery is ongoing. l
REOUEST NO. 28 (ERRONEOUSLY LABELED AS REOUEST NO. 6 BY
DEFENDANTS):

Please produce copies of any text messages, emails, or other written communications
between either you or your counsel and Maria Becerra from the date of the Subject Accident
through the present.

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RESPONSE TO REOUEST NO. 28 (ERRONEOUSLY LABELED AS REOUEST NO. 6
BY DEFENDANTS ):

Objection. This request seeks information concerning the existence or content of
statements made by potential witnesses or parties subsequent to the occurrence upon which this
suit is based and in connection with the investigation of this 'suit, or in anticipation of the
prosecution of the claims made a part of the pending litigation. Further, this request is vague
and ambiguous as to the phrase “other written communications.” Without waiving said
objections, Plaintiff answers as follows: Plaintiff has no documents in her possession, custody,
or control responsive to this request. Plaintiff reserves the right to supplement this response as
discovery is ongoing.

REOUEST NO. 29 (ERRONEOUSLY LABELED AS REOUEST NO. 7 BY
DEFENDANTS):

Please produce copies of any and all documents related to the 2015 car accident you
identified in your response to Defendant's Interrogatory No. 18, including, but not limited to,
police report, medical records, property damage records and photographs', insurance
policies/claim notes, including claim numbers and insurance carrier names, as well as the
owners of the policy of insurance. If you are not in possession of these documents, please
provide the contact information for the carriers and execute the attached release Exhibit "A".
RESPONSE TO RE§ !UEST NO. 29 (ERRONEOUSLY LABELED AS RE§ !UEST NO. 7
BY DEFENDANTS[:

Objection; irrelevant, overbroad and unduly burdensome.

RE§ !UEST NO. 30 §ERRONEOUSLY LABELED AS REQUEST NO. 8 BY
DEFENDANTS :

Please produce copies of any the data of any type of FitBit, or other activity tracker

device from five (5) years prior to the Subject Accident through the present.

 

 

 

 

 

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RESPONSE TO REOUEST NO. 30 (ERRONEOUSLY LABELED AS REOUEST NO. 8
BY DEFENDANTS):

Plaintiff has no documents in her possession, custody, or control responsive to this
request Plaintiff reserves the right to supplement this response as discovery is ongoing.
REOUEST NO. 31 (ERRONEOUSLY LABELED AS REOUEST NO. 9 BY
DEFENDANTS :

Please produce copies of documents or invoices documenting any hotel

lodging/accommodations for the entirety your stay in Las Vegas when the Subject Accident

 

occurred.
RESPONSE TO REOUEST NO. 31 (ERRONEOUSLY LABELED AS REQUEST NO. 9
BY DEFENDANTsz

Plaintiff has no documents in her possession, custody, or control responsive to this

request. Plaintiff reserves the right to supplement this response as discovery is ongoing.

REQUEST NO. 32 (ERRONEOUSLY LABELED AS REQUEST NO. 10 BY
DEFENDANTS):

Please produce copies of invoices documenting any plane tickets/or rental cars for the

entirety your stay in Las Vegas when the Subj ect Accident occurred.

RESPONSE TO REQUEST NO. 32 jERRONEOUSLY LABELED AS REQUEST NO. 10
BY DEFENDANTS):

Please see attached Exhibit 1,: Flight Confirmation from Spirit Airlines.
REQUEST NO. 33 (ERRONEOUSLY LABELED AS REQUEST NO. 11 BY
DEFENDANTS):

Please produce copies or allow for inspection, any social media account you have from

five (5) years prior to the Subj ect Accident through the present.

RESPONSE TO REQUEST NO. 33 §ERRONEOUSLY LABELED AS REQUEST NO. 11
BY DEFENDANTS ):

Objection. This request is irrelevant, not reasonably calculated to lead to the discovery

of admissible evidence, is unduly burdensome, and constitutes a violation of Plaintiff’s right to

 

 

 

 

 

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privacy and confidentiality Requesting Defendant could utilize direct interrogatories or
deposition questions to answer Defendant’s questions as to whether Plaintiff has ever posted
photographs of Plaintiff’ s injuries, made statements concerning the incident but not made in
contemplation of litigation, and whether Plaintiff has made comments to friends or family
concerning the incident. This can all be done Without requiring Plaintiff to turn over the key to
Plaintiff’ s electronic life and keep the doors Wide open so that Defendant can attempt to dig up
irrelevant tidbits which may be used to harass and intimidate Plaintiff. See Oppenheimer Fund,
Inc. v. Sanders, 437 U.S. 340, 353, 98 S.Ct. 2380, 2390 (1978).
REOUEST NO. 34 (ERRONEOUSLY LABELED AS RE(LUEST NO. 12 BY
DEFENDANTS[:

Please produce copies of your medical records with Dr. Virginia Leigh from five (5)

years prior to the Subj ect Accident through the present.

RESPONSE TO REQUEST NO. 34 gERRONEOUSLY LABELED AS REQUEST NO. 12

BY DEFENDANTS ):
Please see attached Exhibit 2, HIPPA authorization

REOUEST NO. 35 (ERRONEOUSLY LABELED AS REOUEST NO. 13 BY
DEFENDANTS):
Please produce copies of your medical records with Dr. Joseph Paneiro/I\leighborhood

Clinic from five (5) years prior to the Subject Accident through the present.

RESPONSE TO RE§ !UEST NO. 35 §ERRONEOUSLY LABELED AS REQUEST NO. 13
BY DEFENDANTS):

Please see attached Exhibit 2, HIPPA authorization
REQUEST NO. 36 §ERRONEOUSLY LABELED AS REQUEST NO. 14 BY
DEFENDANTS):

Please produce copies of any treatment provider you treated With for depression/anxiety

from five years prior to the Subject Accident through the present.

 

 

 

 

 

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RESPONSE TO REOUEST NO. 36 (ERRONEOUSLY LABELED AS REOUEST NO. 14

BY DEFENDANTS):
Please see attached Exhibit 2, HIPPA authorization
REQUEST NO. 37 gERRONEOUSLY LABELED AS RE§ QUEST NO. 15 BY

DEFENDANTS):
Please produce a copy of your ID card for Medicare/Medicaid Registry/CeltiCare Health

Plan of MA, and Medicaid/MassHealth, both front and back.

RESPONSE TO REQUEST NO. 37 §ERRONEOUSLY LABELED AS RE§ !UEST NO. 15
BY DEFENDANTS):

Please see attached Exhibit 3, front and back of MassHealth Insurance card.
REQUEST NO. 38 (ERRONEOUSLY LABELED AS REQUEST NO. 16 BY
DEFENDANTS):

Please produce a copy of all text messages or emails you sent in the 48 hours after the
Subj ect Accident
RESPONSE TO RE UEST NO. 38 RRONEOUSLY LABELED AS RE UE'ST NO. 16

BY DEFEN])ANTS 1:

Obj ection This request is irrelevant, not reasonably calculated to lead to the discovery

   

of admissible evidence, is unduly burdensome, and constitutes a violation of Plaintist right to
privacy and confidentiality All text messages or emails sent by the Plaintiff in the 48 hours
after the subject incident are not relevant. Defense counsel is attempting to conduct a fishing
expedition with this this request

RE§ !UEST NO. 39 gERRONEOUSLY LABELED AS RE§ QUEST NO. 17 BY
DEFENDANTS):

Please produce copies of any and all applications you have submitted for

Medicaid/Medicare.

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RESPONSE TO REOUEST NO. 39 (ERRONEOUSLY LABELED AS REOUEST NO. 17
BY DEFENDANTS):

Objection: irrelevant, unduly burdensome and overbroad.
REOULM NO. 40 (ERRONEOUSLY LABELED AS REOUEST NO. 18 BY
DEFENDANTS[:

Please produce copies of any and all correspondence between you and
Medicaid/l\/Iedicare, including, but not limited to, acceptance of benefit letters or denial of
benefit statements

RESPONSE TO RE UEST NO. 40 RRONEOUSLY LABELED AS RE
BY DEFENDANTsz

Obj ection; irrelevant, unduly burdensome and overbroad

REQUEST NO. 41 §ERR()NEOUSLY LABELED AS REQUEST NO. 19 BY
DEFENDANTS|:

Please produce copies of any and all diagnostic tests you have undergone in regards for

UEST NO. 18

     

benefits for Medicaid/l\/ledicare.

RESPONSE TO RE§ !UEST NO. 41 (ERRONEOUSLY LABELED AS REQUEST NO. 19
BY DEFENDANTS):

Obj ection; irrelevant, unduly burdensome and overbroad.
RE§ !UEST NO. 42 (ERRONEOUSLY LABELED AS RE§ ZUEST NO. 20 BY
DEFENDANTS)= 1

Please produce any and all documentation concerning prior admission regarding mental
health issues, including, but not limited to, depression anxiety, and stress as referenced to your

answer to Interrogatory No. 11.

RESPONSE TO REOUEST NO. 42 (ERRONEOUSLY LABELED AS REOUEST NO. 20
BY DEFEN])ANTS l:

Obj ection; irrelevant, unduly burdensome and overbroad.

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REOUEST NO. 43 (ERRONEOUSLY LABELED AS REOUEST NO. 21 BY
DEFENDANTS):

Please produce copies of your medical records with Brockton Hospital from five (5)
years prior to the Subject Accident through the present
RESPONSE TO REOUEST NO. 43 (ERRONEOUSLY LABELED AS REOUEST NO. 21
BY DEFENDANTS):

Please see attached Exhibit 2, H[PPA authorization
RE UEST NO. 44 ERRONEOUSLY LABELED AS RE
DEFENDANTS):

Please produce copies of your medical records with Boston Medical Center from five (5)

     

UEST NO. 22 BY

years prior to the Subj ect Accident through the present.

RESPONSE TO RE§ !UEST NO. 44 jERRONEOUSLY LABELED AS RE§ QUEST NO. 22

BY DEFENDANTS[:
Please see attached Exhibit 2, HIPPA authorization

REOUEST NO. 45 (ERRONEOUSLY LABELED AS REOUEST NO. 23 BY
DEFENDANTS):
Please produce copies of any documentation concerning any prescription medication

you have taken in the one (l) year prior to the Subject Accident

RESPONSE TO REQUEST NO. 45 gERRONEOUSLY LABELED AS RE§ !UEST NO. 23
BY DEFENDANTsz

Please see attached Exhibit 2, H[PPA authorization
REQUEST NO. 46 gERRONEOUSLY LABELED AS RE§ !UEST NO. 24 BY
DEFENDANTS):

Please produce copies of any documentation concerning any prescription medication
you consumed in the 48 hours prior to the Subject Accident.
RESPONSE TO REOUE_&T NO. 46 (ERRONE()USLY LABELED AS REOUEST NO.L_

BY DEFENDANTS ):
Please see attached Exhibit 2, HIPPA authorization

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REOUEST NO. 47 (ERRONEOUSLY LABELED AS REOUEST NO. 25 BY
DEFENDANTsz

Please produce copies of any documentation concerning any alcoholic beverages you
consumed in the 48 hours prior to the Subject Accident, including, but not limited to, receipts,

charge card statements or text messages concerning same.

RESPONSE TO REQUEST NO. 47 §ERRONEOUSLY LABELED AS REQUEST NO. 25
BY DEFENDANTS):

Objection; irrelevant, unduly burdensome and overbroad.

REOUEST NO. 48 (ERRONEOUSLY LABELED AS REOUEST NO. 26 BY
DEFENDANTS !:

Please produce copies of any documentation concerning any drugs you consumed in the
48 hours prior to the Subject Accident, including, but not limited to, receipts, charge card
statements or text messages concerning same.

RESPONSE TO REOUEST NO. 48 (ERRONEOUSLY LABELED AS REOUEST NO. 26
BY DEFENDANTsz

Obj ection; irrelevant, unduly burdensome and overbroad
REOUEST NO. 49 (ERRONEOUSLY LABELED AS REOUE_ST NO. _2_7 BY
DEFENDANTS):

Please produce copies of any medical records or diagnostic tests relating to any
treatment you have received from five (5) years prior to the Subject Accident through the
present If you do not have these records in your possession, please execute the attached release
Exhibit "B" and provide the names of the treatment providers so Defendant can obtain these
records.

RESPONSE TO RE UEST NO. 49 ERRONEOUSLY LABELED AS RE
BY DEFENDANTS L:

Obj ection; this request is beyond the scope of a request for production Without Waiving

UEST NO. 27

     

said objection please see attached Exhibit 2, HIPPA authorization

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REOUEST NO. 50 (ERRONEOUSLY LABELED AS REOUEST NO. 28 BY
DEFENDANTS):

Please produce an executed copy of the HIPAA Release attached as Exhibit "C".
RESPONSE TO REOUEST NO. 50 (ERRONEOUSLY LABELED AS REOUEST NO. 28
BY DEFENDANTS L:

Please see attached Exhibit 2, HIPPA authorization
RE§ !UEST NO. 51 (ERRONEOUSLY LABELED AS REQUEST NO. 29 BY
DEFENDANTsz

Please produce a copy of your Medical Marijuana Registry ID card, or similar registry in
any other eligible state medical marijuana program ID card, both front and back.

RESPONSE TO REOUEST NO. 51 (ERRONEOUSLY LABELED AS REOUL_ST NO. 29
BY DEFENDANTsz

Obj ection; irrelevant,

REOUEST NO. 52 (ERRONEOUSLY LABELED AS REOUEST NO. 30 BY
DEFENDANTS):

Please produce copies of any photographs or pictures of the Subject Accident scene.
RESPONSE TO REOUEST NO. 52 (ERRONEOUSLY LABELED AS REOUEST NO. 30
BY DEFENDANTS [:

Plaintiff has no documents in her possession, custody, or control responsive to this

request. Plaintiff reserves the right to supplement this response as discovery is ongoing.

REQUEST NO. 53 §ERRONEOUSLY LABELED AS REQUEST NO. 31 BY

DEFENDANTS):
Please produce a copy of your cell phone records for the day of the Subj ect Accident and

48 hours afterwards Please produce copies of all text messages during this time frame.

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l RESPONSE TO REOUEST NO. 53 (ERRONEOUSLY LABELED AS REOUEST NO. 31
2 BY DEFENDANTS):

3 Objection. This request is irrelevant, not reasonably calculated to lead to the discovery
5 of admissible evidence, is unduly burdensome, and constitutes a violation of Plaintiff" s right to

_ 6 privacy and confidentiality

 

8 DATED THIS 12th day of April, 2018.
9 _
10 RICHARD HARRIS LAW FIRM
n /s/ Michaela E. Tramel
§ 12 BYZ
§ RICHARD A. HARRIS, ESQ.
'”‘ 13 Nevada Bar No. 505
3 14 MICHAELA E. TRAMEL, ESQ.
j Nevada Bar No. 9466
15 . 801 South Fourth Street
Las Vegas, Nevada 89101
16 Attorneys for Plaintiff

 

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l CERTIFICATE OF SERVICE

2 Pursuant to FRCP 5(b), I certify that I am an employee of RICHARD HARRIS LAW
3 FIRM and that on this 16th day of April, 2018, I served a copy of the foregoing,

5 PLAINTIFF’S RESPONSES TO DEFENDANT DENNY’S, INC.’S AMENDED

6 SECOND SET OF REOUEST FOR PRODUCTION TO PLAINTIFF MONICA

7 HINOSTROZA, as follows: y

3 [XX ] U.S. Mail-By depositing a true copy thereof in the U.S, mail, first class
postage prepaid and addressed as listed below; and/or

10 [ ] Facsimile_By facsimile transmission pursuant to EDCR 7.26 to the facsimile
' number(s) shown below and in the confirmation sheet filed herewith. Consent
ll to service under NRCP 5(b)(2)(D) shall be assumed unless an objection to

12 service by facsimile transmission is made in writing and sent to the sender via
facsimile within 24 hours of receipt of this Certificate of Service; and/or

[ ] Hand Delivery-By hand-delivery to the addresses listed below.
14
[ ] Electronic Service - in accordance with Administrative Order 14-2 and Rule 9

15
of the Nevada Electronic Filing and Conversion Rules (N.E.F.C.R.).

17 Riley A. Clayton, Esq.

18 Troy Clark, Esq.

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19 7425 Peak Drive

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Attorneys for Defendant
21 Denny ’s Inc.

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24 /s/ Nicole Gilenson

An employee of RICHARD HARRIS LAW FIRM
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